Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.829 Filed 04/07/16 Page 1 of 12
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Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.830 Filed 04/07/16 Page 2 of 12
Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.831 Filed 04/07/16 Page 3 of 12
Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.832 Filed 04/07/16 Page 4 of 12
Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.833 Filed 04/07/16 Page 5 of 12
Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.834 Filed 04/07/16 Page 6 of 12
Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.835 Filed 04/07/16 Page 7 of 12
Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.836 Filed 04/07/16 Page 8 of 12
Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.837 Filed 04/07/16 Page 9 of 12
Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.838 Filed 04/07/16 Page 10 of 12
Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.839 Filed 04/07/16 Page 11 of 12
Case 2:14-cv-13710-SFC-DRG ECF No. 51-21, PageID.840 Filed 04/07/16 Page 12 of 12
